[Cite as State v. Richard, 2024-Ohio-3194.]

                               COURT OF APPEALS OF OHIO

                              EIGHTH APPELLATE DISTRICT
                                 COUNTY OF CUYAHOGA

STATE OF OHIO,                                      :

                 Plaintiff-Appellee,                :
                                                             No. 113528
                 v.                                 :

CHRISTIAN RICHARD,                                  :

                 Defendant-Appellant.               :


                                JOURNAL ENTRY AND OPINION

                 JUDGMENT: AFFIRMED AND REMANDED
                 RELEASED AND JOURNALIZED: August 22, 2024


         Criminal Appeal from the Cuyahoga County Court of Common Pleas
                             Case No. CR-21-657070-A


                                              Appearances:

                 Michael C. O’Malley, Cuyahoga County Prosecuting
                 Attorney, and Mallory Buelow and Lindsay Patton,
                 Assistant Prosecuting Attorneys, for appellee.

                 Wegman Hessler Valore and Matthew O. Williams, for
                 appellant.


KATHLEEN ANN KEOUGH, A.J.:

                   Defendant-appellant, Christian Richard, appeals his convictions

following a guilty plea. For the reasons that follow, we affirm, finding no merit to
the appeal, but remand for the trial court to issue a nunc pro tunc comprehensive

judgment entry of conviction.

I.   Procedural History

              In February 2021, the State named Richard in a 35-count

indictment, charging him with 14 counts of rape, 11 counts of gross sexual

imposition, 6 counts of kidnapping, 2 counts of disseminating matter harmful to

juveniles, and one count of public indecency and pandering obscenity involving an

impaired person.      Most counts also contained a sexually violent predator

specification. The charges stemmed sexual misconduct involving three female

victims, one of whom was under the age of 13.

              In October 2023, Richard entered into a packaged plea agreement

with the State.1 He agreed to plead guilty to amended Count 3, gross sexual

imposition, in violation of R.C. 2907.06; amended Counts 31-33, rape, in violation

of R.C. 2907.02(A)(1)(c); amended Count 34, gross sexual imposition, in violation

of R.C. 2907.05(A)(5); and Count 35, pandering obscenity involving an impaired

person, in violation of R.C. 2907.321(A)(1). In exchange, the State agreed to

dismiss the remaining counts and specifications. The parties also agreed (1) that

the offenses were not allied, (2) Richard would not be granted early release, and




      1 As part of the plea agreement, Richard pleaded guilty to offenses in Cuyahoga C.P.

No. CR-20-650666 — carrying a concealed weapon and use of a weapon while intoxicated.
He has not appealed these convictions.
(3) to a recommended base sentence range of 10-20 years, subject to the Reagan

Tokes Law.

              The trial court engaged in the requisite Crim.R. 11 colloquy, accepted

Richard’s guilty pleas, and imposed a stated minimum prison term of 20 years with

a maximum term of 25 years.

              Richard now appeals, raising three assignments of error.

II. Defective Indictment

              In his first assignment of error, Richard contends that his conviction

in Count 35 — pandering obscenity involving an impaired person — constitutes

plain error and should be reversed because the State failed to charge an offense

under Ohio law because no person was named as the victim in that count. He

essentially contends that the indictment was deficient or defective.

              Richard has waived any argument regarding any deficiency in the

indictment by failing to object to the indictment and by pleading guilty to the

offense. Crim.R. 12(C)(2) mandates that “[d]efenses and objections based on

defects in the indictment” must generally be raised “[p]rior to” trial. “‘Failure to

timely object to the allegedly defective indictment constitutes a waiver of the issues

involved.’” State v. Barton, 2006-Ohio-1324, ¶ 73, quoting State v. Biros, 78 Ohio

St.3d 426, 436 (1997); State v. Walker, 2022-Ohio-820, ¶ 6 (8th Dist.) Moreover,

Crim.R. 11(B)(1) states, “The plea of guilty is a complete admission of the

defendant’s guilt.” State v. Colon, 2017-Ohio-8478, ¶ 15 (8th Dist.).
                 In this case, the trial court engaged in the requisite Crim.R. 11

colloquy with Richard and thoroughly explained the rights he would be waiving if

he pleaded guilty, one of which is the right “to require the State to prove the

defendant’s guilt beyond a reasonable doubt at a trial.” Crim.R. 11(C)(2)(c); see tr.

12-14. Richard stated that he understood this right prior to entering his guilty plea

to pandering obscenity involving an impaired person, as charged in the indictment.

He has not made any additional argument challenging the validity of this plea or

that he did not enter a knowing, intelligent, or voluntary plea of guilty to the

offenses. Accordingly, we find that Richard waived this argument, and thus we

overrule his first assignment of error.

III. Consecutive Sentence

                 Richard contends in his second assignment of error that this court

should vacate his consecutive sentence in Counts 31 and 32 because the trial court

did not include the requisite consecutive-sentence findings in the judgment entry

of conviction.

                 When imposing consecutive sentences, a sentencing court is

required “to make the findings mandated by R.C. 2929.14(C)(4) at the sentencing

hearing and incorporate its findings into its sentencing entry.” State v. Bonnell,

2014-Ohio-3177, ¶ 29. Richard does not allege that the sentencing court failed to

make the necessary findings mandated by R.C. 2929.14(C)(4), nor has he

challenged the imposition of consecutive sentences as contrary to law. Rather, he

contends that the trial court failed to incorporate the statutory language in the
judgment entry after making those findings at the oral sentencing hearing. This

deficiency, however, does not render his sentence contrary to law to authorize this

court vacate his sentence.

              A trial court’s failure to incorporate the statutory findings in the

sentencing entry after properly making those findings at the sentencing hearing

does not render the sentence contrary to law, but rather a clerical mistake that may

be corrected by the sentencing court through a nunc pro tunc entry to reflect what

actually occurred in open court. Id. at ¶ 30; see also State v. Qualls, 2012-Ohio-

1111, ¶ 15 (where notification of postrelease control was accurately given at the

sentencing hearing, an inadvertent failure to incorporate that notice into the

sentence may be corrected by a nunc pro tunc entry without a new sentencing

hearing); State v. Watkins, 2022-Ohio-1231, ¶ 30 (8th Dist.). The mistake can be

corrected by the trial court through a nunc pro tunc entry to reflect what actually

occurred in open court. Watkins at ¶ 31, citing Bonnell at id.
              Accordingly, we overrule his assignment of error as it requests to

vacate his sentence on Counts 31 and 32, but we sustain his assignment of error

insofar as it challenges the trial court’s mistake in failing to incorporate the

consecutive-sentence findings in its judgment entry of conviction. Accordingly,

this court remands the case to the trial court to issue a nunc pro tunc judgment

entry that incorporates its consecutive-sentence findings.
IV. Reagan Tokes Sentence

              Richard contends in his third assignment of error that the trial court

erred when it sentenced him to an indefinite sentence under S.B. 201, commonly

referred to as the Reagan Tokes Law, because the law is unconstitutional under the

United States and Ohio Constitutions because it violates due process, the

separation-of-powers doctrine, and the right to trial by jury.

              The Ohio Supreme Court rejected the arguments Richard raises

challenging the constitutionality of the Reagan Tokes Law. State v. Hacker, 2023-

Ohio-2535. The Court held that the Reagan Tokes Law is not facially vague or

unconstitutional because (1) it provides that offenders receive a hearing before the

Department of Rehabilitation and Correction (“DRC”) may extend their prison

sentence beyond the minimum but within the maximum term imposed by the trial

court, (2) the right to a jury trial is not implicated since no determination by the

DRC at the hearing changes the sentence range prescribed by the legislature and

imposed by the trial court, and (3) the authority it gives the DRC to extend an

offender’s prison sentence beyond the minimum but within the maximum range

imposed by the trial court does not exceed the power given to the executive branch

of the government and does not interfere with the trial court’s discretion when

sentencing the offender. Id. at ¶ 25, 28, 40. Accordingly, based on the authority

of Hacker, this court summarily overrules Richard’s challenges to the Reagan

Tokes Law and his assignment of error.
              Judgment affirmed but remanded with instructions to the trial court

to issue a nunc pro tunc judgment entry of conviction incorporating its

consecutive-sentence findings. We also note that the trial court issued a nunc pro

tunc judgment entry filed December 18, 2023, that clarified that the State

dismissed all specifications as part of Richard’s plea agreement. On remand, the

trial court shall issue one comprehensive judgment entry of conviction accurately

reflecting Richard’s plea and sentence.

      It is ordered that appellee recover from appellant costs herein taxed.

      The court finds there were reasonable grounds for this appeal.

      It is ordered that a special mandate issue out of this court directing the

common pleas court to carry this judgment into execution. The defendant’s

convictions having been affirmed, any bail pending appeal is terminated. Case

remanded to the trial court.

      A certified copy of this entry shall constitute the mandate pursuant to Rule

27 of the Rules of Appellate Procedure.



KATHLEEN ANN KEOUGH, ADMINISTRATIVE JUDGE

MARY EILEEN KILBANE, J., and
EMANUELLA D. GROVES, J., CONCUR
